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                                                                                             Lawrence S. Lustberg

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                                                        MEMO ENDORSED

                                                                          April 11, 2024


VIAECF

The Honorable Sidney H. Stein
U.S. District Judge, Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312


           Re:         United States v. Robert Menendez, et al., Case No. 1:23-cr-00490-SHS

Dear Judge Stein:

        As the Court is aware, this Firm represents Defendant Wael Hana in the above captioned
matter. As the Court directed, all defense counsel and the government conferred following today' s
pretrial conference and are in agreement that a modest modification to the Court's pre-trial
schedule would be beneficial to facilitate further collaboration with regard to jury instructions.
Specifically, we request that the deadline to submit requests to charge, currently April 12, 2024,
be adjourned to Wednesday, April 17, 2024.

        We thank the Court for its consideration of this request. Please do not hesitate to contact
me if I can be of any assistance.

                                                                          Respectfully submitted,

                                                                          s/Lawrence S. Lustberg
cc: All counsel of record (via ECF)                                       Lawrence S. Lustberg, Esq.

The request to extend the date to submit the jury instructions until April 17 is granted.

Dated: New York, New York
       April 12, 2024

                                                                    SO ORDERED:




                                                                                   . Stein, U.S.D.J.

New Jersey New York Pennsylvania Delaware Washington , DC Florida
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